Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 1 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.
Plaintiffs,

Vv. Civil Action No. 1:16-cv-02429-TSC

THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

Nee Nowe Nee emer eee Ne re” Ne Nee Nee Ne Nee See” Nee” Stee” Nee” Stee”

 

AFFIDAVIT OF ADAM WEBB
I, Adam Webb, declare under penalty of perjury under the laws of the United States of
America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on December 10, 1962 in the United States of America and have been at
all times throughout my life a citizen of the United States of America.

3. I was married to Dawn Webb on June 13, 1982. We found out that she was pregnant
with our first child in 1983.

4. On October 23, 1983, I was serving as a Lance Corporal in the United States Marine
Corps, having enlisted on January 28, 1982, and was stationed in Beirut, Lebanon as a

member of the Battalion Landing Team 1/8 24th Marine Amphibious Unit.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 2 of 45

10.

On October 23, 1983, when the Marine Battalion Landing Team Headquarters
(“BLT”) in Beirut was attacked by a suicide bomber, I was functioning as a radio
operator on the roof of the BLT.

My memories of the moment of detonation and the immediate events that followed
are blurred. | recall feeling the blast in my chest and experiencing the sensation of
falling through a tube or hole. My next memory is being in the back of a jeep on the
eastside of what was the BLT.

Following the blast, prior to being medevaced for my own injuries, I participated in
the rescue effort for survivors. These memories are the most awful and worst of my
life. I recall the moans and groans of the injured and dying and digging for survivors.
At one point, I remember thinking that I had found somebody and digging for them.

I found a hand and kept on digging. When I tried to pull them out, I discovered that I
had only found a hand and part of a forearm. I never did find a survivor; only pieces.
I spent the weeks following the attack at hospitals in Italy and Germany. While in
Italy, I was awarded the Purple Heart by General P. X. Kelley, who was Commandant
of the Marine Corps at the time.

As a result of the subject terrorist attack, I suffered physical injuries to my shoulder
(AC joint separation) and foot (broken bones). The shoulder injury still bothers me
and I never regained full strength. Additionally, I have had tinnitus since the blast.

I have also suffered serious emotional injuries as a result of the bombing that continue
to affect me to this day. I suffer from anxiety, trouble sleeping, and PTSD. I do not
do well in crowds or large buildings or around flash photography. I turned to alcohol
in an attempt to find relief and have battled alcoholism for much of my life since

returning from Beirut. I have over twenty DUIs.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 3 of 45

11. Recently, I have been attending weekly group counseling at the Wheeling Vet Center
in West Virginia to better understand and manage my PTSD.

12. Defendants, the Islamic Republic of Iran and the Iranian Ministry of Intelligence and
Security have inflicted bodily injury upon me and severe emotional stress on me and
my entire family. As a result of my PTSD, my once close relationships with my wife,
parents, and siblings have significantly deteriorated.

13. My wife, Dawn Webb, as well as my mother, Mary McMahon, and the estate of my
late father, William Webb, Sr., my siblings, Brenda Meager, Katherine Nagy,
William Webb, Jr., and Roger Webb, and the estate of my late son, Donald Webb, are
also plaintiffs in this litigation.

I, Adam Webb, declare under penalty of perjury under the laws of the United States

of America that the forgoing is true and correct.

Executed on this the Day Semen 2018
Wore VV, he

Adam Webb

 

Sworn to and subscribed before me
this SA May of Glamor 2018.

Notary Public

 
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 4 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.

Vv,

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Plaintiffs,

Civil Action No. 1:16-cv-02429-TSC

Defendants.

ee eee SS

 

AFFIDAVIT OF ANGEL ALMANZA

I, Angel Almanza, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on January 29, 1976 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

I am the brother of Lorenzo Almanza.

On October 23, 1983, my brother, Lorenzo Almanza, was deployed in Beirut,
Lebanon with the United States Navy when a suicide bomber attacked the Marine
barracks.

On October 23, 1983, I was seven years old. I first remember learning of the terrorist
attack on my brother when a naval officer came to our home and informed my mother

of the attack and of my brother’s injuries. I remember my mother breaking down and
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 5 of 45

10.

crying. I had never seen my mother like that before. I was too young to understand
what a terrorist attack was, but I remember being very scared and hiding under the
covers of my bed as my mother broke down when the officer came.

I remember that Lorenzo was allowed to leave the hospital for a week and come
home for Christmas. I remember being at the airport when he arrived and all of my
family running to my brother’s wheelchair the moment we saw him.

Even as Lorenzo suffered, he tried to look after me. He tried his best to make sure I
didn’t see my mother or older sisters changing the dressing on his amputation, but it
happened so often and I did see the cruelty of the injuries my brother suffered.
Following the attack, Lorenzo never asked for one word of pity and did his best to
move on. But I can see the large yoke his injuries have placed on him. It pains me to
see him suffering — to see him have trouble with stairs or to quickly tire from
walking. It saddens me that innocent youth such as my brother were in the crosshairs
of such a cowardly and evil act.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. | suffered and continue to suffer because of the
emotional pain, stress and the loss of solatium inflicted upon me and my family as a
result of this attack.

This horrible terrorist attack has permanently impacted my family and me. I don’t
know how to ask for justice for my brother. There is nothing that will actually make
him whole again. I want Iran to be held accountable for their involvement in
sponsoring such a horrific act of terrorism. It is my sincere wish that no child ever

has to see a loved one maimed in a terrorist attack ever again.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 6 of 45

11. My mother, Pieda Vasquez, and my siblings, Lorenzo Almanza, Laurencio Almanza,
Maria Herrera, Martha Almanza, Francisca Tang, and the estate of my late brother,
Ricardo Almanza, are also plaintiffs in this litigation.

I, Angel Almanza, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the | 3 day of eet 52018

[LL O

Angel Almanza

Sworn to and subscribed before me

this /3 day of Lae 2018,

 

OFFICIAL STAMP

“25%  — NIMESH R DAYAL
> is COMMISSION NO. 961228
je * MY COMMISSION EXPIRES APRIL 08, 2021

Notary Public

 

 

 

 
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 7 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et ai.
Plaintiffs,
Civil Action No. 1:16-cv-02429-TSC

Vv.

THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

Name Ne ee ee Ne Nee ee Ne ee ee ee” Se ee ee ee ee” ee”

 

AFFIDAVIT OF ANGELA FORRESTER
I, Angela Forrester, declare under penalty of perjury under the laws of the United States
of America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on March 30, 1958 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. [am the sister of Steven Forrester.

4, On October 23, 1983, my brother, Steven Forrester, was deployed in Beirut, Lebanon
with the United States Marine Corps when a suicide bomber attacked the Marine

barracks.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 8 of 45

10.

On October 23, 1983, I was twenty-five years old. I first learned of the terrorist
attack on October 23, 1983 from the television news. I was completely overwhelmed
with anxiety.

On October 24, 1983, my mom contacted me to inform me that my brother was killed
in the attack. I was devastated. I was seven months pregnant at the time and was
placed on bedrest. I was unable to function normally following my brother’s death
and fell into a deep depression.

It took two weeks for my brother’s body to be found, identified, and returned to the
United States. He had to be identified through dental records.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. This terrorist attack stole Steven’s future and
permanently impacted my life, as it forever severed my relationship with my brother
and left a void in our family that can never be filled. Steven was the glue that held
our family together. He was warm, kind, caring, and funny. After losing him, our
family suffered greatly and relationships between family members became very
strained.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. I was very close
to Steven growing up. Following his death I was completely devastated and
extremely depressed. The pain of Steven’s loss remains sharp for me despite the
passage of time. I continue to take medication for my depression and anxiety.

I love and miss Steven very much. My life has not been the same since his death. A

part of my heart went missing that day in 1983 and will never be recovered.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 9 of 45

11. My mother, Mabel Rich, and my brother, James Forrester, as well as Steven’s wife
Christine Forrester, and children, Steven E. M. Forrester and Detwane Lewis, as well
as the estate of my late brother, Steven Forrester, are also plaintiffs in this litigation

I, Angela Forrester, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the AG day of January , 2018

Angel’ Forrester

Sworn to and subscribed before me

this 2 $ day of _Janvary, 2018.

 

Notary Public
Ra
SERS a,

~ ae
$& en St 19%
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 10 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.
Plaintiffs,

Vv. Civil Action No. 1:16-cv-02429-TSC

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

Nee ee ee ee Ne Ne NL NL NL CN NL LL NL”

 

AFFIDAVIT OF BRENDA MEAGER
I, Brenda Meager, declare under penalty of perjury under the laws of the United States of
America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on December 19, 1952 in the United States of America and have been at
all times throughout my life a citizen of the United States of America.

3. Iam the sister of Adam Webb.

4. On October 23, 1983, my brother, Adam Webb, was deployed in Beirut, Lebanon
with the United States Marine Corps, posted at the Marine Battalion Landing Team

headquarters (“BLT”) when a suicide bomber attacked the BLT.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 11 of 45

wn

10.

. On October 23, 1983, I was thirty years old. I first learned of the terrorist attack that

destroyed the BLT from the television news. I was extremely anxious and very
worried about my baby brother. No one knew if Adam was dead or alive.

At approximately 4:00 a.m. on October 24, 1983, Adam called home from a hospital
in Naples, Italy. He was injured, but was alive. At approximately 7:00 a.m., the
police and military personnel knocked on our door and told us that Adam was dead.
Thank goodness my mother had already talked to him.

When Adam returned home, he mostly kept to himself and did not say much about
what had happened. He turned to alcohol and has battled alcoholism ever since.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether Adam was dead or alive
following the attack. Additionally, Adam’s psychological injuries following the
bombing and resulting alcoholism have placed enormous stress on me and our
relationship.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This terrorist
attack has permanently impacted my family and my relationship with my brother,
Adam Webb. Adam continues to have issues with alcoholism, anger, guilt, and
maintaining personal relationships. I do not care for some of his actions, but I love
my brother very much.

My brother, Adam Webb, as well as my mother, Mary McMahon, and the estate of
my late father, William Webb, Sr., Adam’s other siblings, Katherine Nagy, William
Webb, Jr., and Roger Webb, Adam’s wife, Dawn Webb, and the estate of Adam’s late

son, Donald Webb, are also plaintiffs in this litigation.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 12 of 45

I, Brenda Meager, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the | b day of Januar , 2018

Brenda Meager : o
Sworn to and subscribed before me

this /6 day of _jangary , 2018. otalals,

SORES, ScoT_M. MeMation

SL ~ CVs Attorney At Law

, eee E NOTARY PUBLIC
: *= STATE OF OHIO

Pe wis. =

nN: “OS My Commission Has
Jit PeMohor Cy Steps _ No Expiration Date
4 1 “LE Ow Section 147.03 O.R.C.

Notary Public toc

   
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 13 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et ai. )
)
Plaintiffs, )
)
Vv. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY
)
)
)
)

 

AFFIDAVIT OF CHRISTINE FORRESTER
I, Christine Forrester, declare under penalty of perjury under the laws of the United States
of America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on February 25, 1963 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. I was married to Steven Forrester on April 21, 1981. We were both young and
looking forward to our life together. We planned to have a large family. Our goal
was to have five children. We wanted to create a loving environment with both

parents in the home, as neither of us grew up in a home with both parents.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 14 of 45

4. On October 23, 1983, my husband, Steven Forrester, was deployed in Beirut,
Lebanon with the United States Marine Corps when the Marine Battalion Landing
Team headquarters (“BLT”) was attacked by a suicide bomber.

5. Shortly after the bombing, I was visited by two servicemen who brought word that
my husband had been killed. I was devastated. My whole world just crumbled and I
felt as if I had lost everything. I could not believe that the family we were planning
on having together was over. I was a widow with two young children at the age of
twenty.

6. The weeks that followed are a blur. I was not in a stable state of mind. My mother
came to stay with me and to help with the children. I remember attending meetings
for families that had lost loved ones about what town the bodies should be returned to
upon arrival back in the United States. They urged the families to keep the caskets
sealed and for the funerals to be closed casket.

7. [have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I suffered and continue to suffer because of the
emotional pain, stress and the loss of solatium inflicted upon me as a result of this
attack.

8. This terrorist attack stole Steven’s future and permanently impacted my life, as it
forever severed my relationship with my husband and shattered the dream of the
family and life we had planned together. I was forced, as a young mother of twenty
years, to raise two boys by myself and to play the role of both mother and father. My
children and I struggled for years to come. I was not prepared for the struggles and

hardships I was to endure.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 15 of 45

9. Our children grew up never knowing their father. I attempted to teach them about
their father and what he stood for so that they could inherit his honor and integrity.
Now the years have passed and our sons have their own families to raise. From time
to time I look at our sons, and at their sons, and I see Steven in their smiles and I shed
a tear for the father/grandfather they will never know.

10. My children, Steven E. M. Forrester and Detwane Lewis, and Steven’s mother, Mabel
Rich, and siblings, Angela Forrester and James Forrester, as well as the estate of my
late husband, Steven Forrester, are also plaintiffs in this litigation.

11. I have taken action to open the Estate of Steven Forrester, which is also a plaintiff in
respect of the instant action, in Baltimore County, Maryland, which was the place of
his residence at the time of his death before being killed in Beirut, Lebanon. Prior to
award of any monetary judgment, to the best of my knowledge, I will be the duly
appointed representative of the Estate of Steven Forrester as provided by law.

I, Christine Forrester, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the i Yh ay of arg 2018

Christine Forrester

 
  

Sworn to and subscribed before me
this_[[gthday of Tinuarey: 2018.
Me

‘ublit
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 16 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et ai.

V.

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Plaintiffs,

Civil Action No. 1:16-cv-02429-TSC

Defendants.

me Nee ee Nee Nee Nee” Nee Nene” Nene” Nee Nee” nce Me Nee” nee ee eee”

 

AFFIDAVIT OF DAVID DIBENEDETTO

I, David DiBenedetto, declare under penalty of perjury under the laws of the United

States of America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on August 31, 1960 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

I am the brother of Thomas DiBenedetto.

On October 23, 1983, my brother, Thomas DiBenedetto, was deployed in Beirut,
Lebanon with the United States Marine Corps when a suicide bomber attacked the
Marine barracks.

On October 23, 1983, I was twenty-three years old. I was attending college and

remember waking up in the middle of the night; I was restless and decided to turn on
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 17 of 45

the television. It was then that I learned of the attack, as it was all over the news. I
did not know my brother’s fate at that time, but I was aware of the possibilities. I was
very anxious.

6. The next day I received a call from my father; he explained that Tommy had been
killed in the explosion. I was in shock. I shut off communication with most everyone
and isolated myself. I didn’t want to face or talk with anyone. After the call, I went
for a walk on the beach to get away. As I walked I picked up a rock, which I still
have to this day. I’m not sure what the rock symbolizes. Was it to remember and
never forget the day? Was it something to hold on to so I will never forget? I’m not
sure, but I still have the rock and when I see it I remember Tommy.

7. In the days that followed I returned home to be with the family. The rest of my
siblings were there as well. It was not pleasant. I recall some local marines coming
to the door to express their condolences and offer assistance with any arrangements. I
remember the reporters constantly calling and coming to the door to get reactions
from my family. I remember watching the news and seeing Tommy’s name flash
across the screen; I turned it off and kept it off for weeks.

8. The worst day of my life was attending Tommy’s wake to view the open casket. I
didn’t want to go, but was told that if] didn’t I would never get closure. I still to this
day do not have closure. I also had to go to a reception at the university where my
father worked so folks in town could pay their respects. That was the second worst
day of my life. The line of people was huge and I had to shake everyone’s hand. I
didn’t want to talk to anyone. I was a kid and I was devastated.

9. Ihave suffered extreme emotional distress because of the bombing of the Marine

barracks in Beirut, Lebanon. This terrorist attack stole Tommy’s future and
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 18 of 45

10.

11

permanently impacted my life, as it forever severed my relationship with my brother .
and left a void in our family that can never be filled.

I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. The impact on me
has been significant. I rarely discuss Tommy’s death, as it is too painful. There is

still an emotional scar. Until lately, I have basically blocked out the event as a
mechanism to get through my life. However, I recently went to the Beirut Memorial
in North Carolina to see if I could make some sense of it all. It was nice to be there. I
plan on attending the ceremony at the memorial on the anniversary of the attack this
year. I hope that it will bring some measure of healing to speak with others who have

experienced the same loss.

. Tommy and I used to enjoy fishing together in the river behind our house. At one

point, before Tommy joined the Marine Corps, he had an idea that he would be a
fisherman. I was in school in Rhode Island at the time and lived next to a fishing
port. Tommy asked me if he could stay at my place while he looked for a job on one
of the boats. I told him that was fine. I was home for the weekend and Tommy was
going to ride back with me when I left. I was hanging out all day Sunday and was not
planning on leaving for Rhode Island until nighttime. Tommy was anxious to leave
and kept asking me to go, but I was not ina rush. Eventually, Tommy said he was
tired of waiting and was just going to stay at home and not come. Later that night, I
left for school by myself. Soon after Tommy joined the Marines. I have lived my life
asking “what if’ Tommy went to Rhode Island with me that night and became a
fisherman for at least awhile. Would his path have been different? Did I alter it? I

will never know the answer.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 19 of 45

12. Tommy was smarter than me and more athletic. He was daring and charismatic. I
was a year younger and was always trying to keep up with him. We were very close.
I miss him very much. Tommy died for his country due to a cowardly act of
terrorism.

13. My siblings, Stephen DiBenedetto, Laura Pinatti, and Diane Martin, as well as the
estate of my late brother, Thomas DiBenedetto, are also plaintiffs in this litigation.

I, David DiBenedetto, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the \2__ day of Feb, sy 2018

Dou th CB eneclitis—

David DiBenedetto

Sworn to and subscribed before me

this 12_ day of Felaruary 2018.
H MN.

Notary Public ~

HEATHER MATTIA
NOTARY PUBLIC
State of Connecticut
My Commission Expires
March 31, 2022

awe
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 20 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

).

DAVID DIBENEDETTO, et ai. )
)
Plaintiffs, )
)

v. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY )
)
Defendants. )
)

AFFIDAVIT OF DAWN WEBB

 

I, Dawn Webb, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

l.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.
I was born on February 17, 1964 in the United States of America and have been at all

times throughout my life a citizen of the United States of America.

. Iwas married to Adam Webb on June 13, 1982. We were both young and looking

forward to our life together. We dreamed of buying a home and having children.
Adam joined the Marine Corps and reported to basic training shortly after we
returned from our honeymoon. Following that he was stationed at Camp Lejeune,

North Carolina, where I joined him.

. In 1983, I found out that I was pregnant with our first child. We were overjoyed.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 21 of 45

6.

10.

11.

12.

13.

On September 26, 1983 our son, Donald Andrew William (“Andy”) Webb, was born.
Adam was deployed in Beirut, Lebanon at the time and we were counting down the
days until he would return home and hold our little boy.

On October 23, 1983, my husband, Adam Webb, was deployed in Beirut, Lebanon
with the United States Marine Corps when the Marine Battalion Landing Team
headquarters (“BLT”) was attacked by a suicide bomber.

I first learned of the terrorist attack that destroyed the BLT from my mother-in-law on
October 23, 1983. My whole world stopped when I heard the news. No one knew
how many were killed or injured or who they were. I was nineteen years old with a
newborn baby and was terrified that I had become a widow. I was extremely worried
about Adam.

I spent the rest of the day constantly watching the news coverage of the bombing.
The images on the news gave me little hope and I cried myself to sleep, thinking of
Adam trapped in the rubble of the building I saw on television.

Early the next morning, before daylight, my phone rang; it was Adam’s mother. She
told me that two men were there to talk to me about Adam and that they were on their
way to me. My heart stopped. I was sure that meant that he was dead.

Then the phone rang and it was Adam. He was alive, hurt, but alive.

Adam spent the next few weeks in Italy and Germany, receiving treatment for his
injuries, before he finally returned home.

When we picked Adam up from the airport, I remember my first glimpse of him as
being both happy and sad. I was overjoyed to have Adam back, but it was clear that

the man I had kissed goodbye months earlier was not the same man I saw before me.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 22 of 45

14,

15.

16.

17.

18.

19.

20.

The happy, laughing man who had made so many plans with me for our future was
gone. In his place was a sad, emotionally distant, and tired-looking man. The light in
Adam’s eyes was gone; his eyes were much older looking, as if that one moment in
Beirut had aged him many years.

Over the course of the next month, Adam did not speak much about what had
happened. He was mostly quiet and kept to himself. At night he often woke from
nightmares, soaked in sweat.

Eventually, Adam turned to alcohol to drown the pain, but the nightmares still came.
I tried to comfort him as best I could and let him know how much I loved him and
that I was there for him. I felt as much a mother to Adam as I did to Andy.

On November 15, 1984 our second child was born. We named her Tiffany Marie.
Around that time, Adam had been hospitalized with bleeding ulcers due to his heavy
drinking. Moreover, he was constantly in trouble with the law due to his drinking.
Adam was discharged in 1986 and found work in Virginia as an equipment operator.
The children and I joined him there. We all lived in a camper trailer at a campground
owned by the people Adam worked for.

As the years passed, Adam’s drinking became worse and worse and his DUIs piled
up. Eventually, I moved back to Ohio with the children and rented a trailer from
Adam’s sister. Then, on June 14, 1990, tragedy struck our family again; a flash flood
swept the trailer and our children away.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether my husband was dead or alive
following the attack. Additionally, his psychological injuries following the bombing

placed enormous stress on me and on our relationship.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 23 of 45

21. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me as a result of this attack.

22. This terrorist attack has permanently impacted my family life and my relationship
with my husband, Adam Webb. When Adam finally returned from Beirut, he came
home a different man. There was a distance between us that was not there before and
his once vibrant eyes had darkened with sadness and pain.

23. The terrorist attack injected fear and death into our lives and erected a wall between
Adam and I that I could not break down. We have tried to work through our
problems, but our relationship remains strained and we do not currently live together.
Despite our troubles over the years, I still care for Adam very much.

24. As a result of the subject terrorist I have suffered serious emotional injuries that
continue to affect me to this day. I cannot help but wonder what could have been if
Adam had not been in Beirut, if the bombing had not taken place. What kind of life
might we have lived and enjoyed together? How many of our dreams that we shared
before the bombing would we have realized?

25. Some people say, what doesn’t kill you makes you stronger. They are wrong.
Sometimes all you can do is limp from day to day trying to survive.

26. My husband, Adam Webb, as well as Adam’s mother, Mary McMahon, and the estate
of his late father, William Webb, Sr., Adam’s siblings, Brenda Meager, Katherine
Nagy, William Webb, Jr., and Roger Webb, and the estate of our late son, Donald
Webb, are also plaintiffs in this litigation.

27. I have taken action to open the Estate of Donald Webb, which is also a plaintiff in
respect of the instant action, in Jacobsburg, Ohio, which was the place of his

residence at the time. Prior to award of any monetary judgment, to the best of my
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 24 of 45

knowledge, I will be the duly appointed representative of the Estate of Donald Webb

as provided by law.

I, Dawn Webb, declare under penalty of perjury under the laws of the United States

of America that the forgoing is true and correct.

Executed on this the aay of Gpemsssnss201 8
A GL

Dawn Webb

Sworn to and subscribed before me

this AA™day Of -Gppenassen 2018.

Notary Public

 

 
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 25 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et al. )
)
Plaintiffs, )
)
Vv. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY )
)
)
)
)

 

AFFIDAVIT OF DETWANE LEWIS
I, Detwane Lewis, declare under penalty of perjury under the laws of the United States of
America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on January 5, 1978 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. Steven Forrester married my mother when I was three years old. He treated me as his
own son and raised me from that point forward. Steven Forrester is the only father I
have ever known and I always have, and still do, consider him my father. At the time
of his death, I received death benefits from the military as his son.

4. On October 23, 1983, my father, Steven Forrester, was deployed in Beirut, Lebanon
with the United States Marine Corps when a suicide bomber attacked the Marine

barracks.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 26 of 45

10.

On October 23, 1983, I was five years old. I remember the soldiers coming to the
house to inform my mother of the terrorist attack. I gathered it was bad news because
my mother cried for some time and did not say much to me for a couple of days.

A few days later, after my mother had gathered her thoughts, she attempted to tell me
what happened. I didn’t understand. It was hard for my mother to talk about, but
eventually she told me in a way I understood that “daddy wasn’t coming back ever.”
It was devastating, but the concept of death still escaped my child’s mind at the time.
It wasn’t until my father’s funeral several weeks later that I came to gain some
understanding of death. I saw my father in a casket, apparently asleep forever.
Family and friends were gathered to say goodbye. | had only seen this in movies
prior to this moment. As they laid him to rest in the ground I thought, “now I know
what death is — he can’t come home if he is under the ground.” It was a child’s logic.
I witnessed my mother struggle to raise my brother and me without my father. I saw
her stress and sadness blossom and I felt the unspoken stress of being the man of the
house and having to be more mature and take care of my little brother.

I felt the blank space next to me as | grew into a man without a father to guide me. I
saw my little brother struggle, having no memory of a father figure in his life. When
I tried to scold or guide him from trouble he rebelled, shouting that “I wasn’t his dad;
his dad is dead.”

I still have memories of our family life from before dad was taken from us.
Whenever he was away, Mom was very loving and compassionate towards us boys,
as if she had special orders to make us happy. When dad was home, we were a loving

family. We were like a TV family; I loved it.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 27 of 45

11. My relationship with my father was short-lived, but I knew he loved me. I remember
him telling me as a four or five year old that he loved me and to look out for my baby
brother and mom when he left to go on “trips” for work.

12. I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I suffered and continue to suffer because of the
emotional pain, stress and the loss of solatium inflicted upon me and my family as a
result of losing my father in this attack. This terrorist attack stole my father’s future
and permanently impacted my life, as it forever severed my relationship with my
father and left a void in my life that can never be filled. From the age of five onward,
I grew up without a father. I missed out on having him in my life, on having him
guide me into becoming a man.

13. 1am now a father myself to three children that look up to me for guidance and
affection. When I was a new dad, I wondered how I could teach them if my dad
wasn’t there to teach me. But, I do still hold memories of my father and the man he
was from when I was a little boy. My dad was a hero to me and, although I was
young, he taught me more than I knew. I hope he imparted his grace and strength to
me, so that I can be a similar man to my children today.

14. My mother, Christine Forrester, and my brother, Steven E. M. Forrester, as well as
my dad’s mother, Mabel Rich, and my dad’s sister, Angela Forrester, and brother,
James Forrester, as well as the estate of my late father, Steven Forrester, are also
plaintiffs in this litigation.

I, Detwane Lewis, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 28 of 45

Executed on this the / 9 Hay of /AMMZY 2018

Detwane Le
Sworn to and subscribed before me

this Th day of Dadvany, 2018
Arm. Ne

Notary Public

May commisstynr A

LadeRmote
Faw fax Comty, VA

 
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 29 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et ai.
Plaintiffs,

Vv. Civil Action No. 1:16-cv-02429-TSC

THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

Name” Neer” Semeur Simmer! Nee” Neer Nome? Nee” See” ee See” Stee” Stee” eee” eee” eee” See”

 

AFFIDAVIT OF DIANE MARTIN
I, Diane Martin, declare under penalty of perjury under the laws of the United States of
America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on September 20, 1956 in the United States of America and have been at
all times throughout my life a citizen of the United States of America.

3. Iam the sister of Thomas DiBenedetto.

4. On October 23, 1983, my brother, Thomas DiBenedetto, was deployed in Beirut,
Lebanon with the United States Marine Corps when a suicide bomber attacked the
Marine barracks.

5. On October 23, 1983, I was twenty-seven years old. In the early morning hours of

October 24, 1983, I received a heartbreaking phone call from my father, who told me
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 30 of 45

about Tommy’s death. I was in shock. My husband (then fiancé) and I immediately
left for my parents’ house to be with the family. I remember being extremely anxious
on the ride in. I was afraid of the traffic and the speed and was terrified about the
prospect of facing my family. I was completely overwhelmed by grief.

6. The experience was made worse by the media, which was constantly trying to
interview us during this hard time. We asked for privacy, but the reporters were
relentless; the phone was ringing non-stop.

7. It took approximately two weeks for my brother’s body to return home. He was
escorted home from Germany by my father’s uncle, who was a retired Army officer.
The days and weeks following Tommy’s death were the most difficult of my life. My
life was surreal. It was as if I was just surviving day to day waiting for Tommy’s
return.

8. We had been forewarned that Tommy’s face had been “repaired” using a photo as a
guide, but when I went to the funeral parlor I didn’t recognize my brother. It made
the reality of the situation even harder to accept. Tommy’s death was my first adult
experience dealing with loss and for years afterward I refused to accept it. I told
myself that Tommy was working undercover for the Military. I would look for him
in crowds.

9. I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. This terrorist attack stole Tommy’s future and
permanently impacted my life, as it forever severed my relationship with my brother
and left a void in our family that can never be filled. To this day, my family does not

talk about the horror of my brother’s death.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 31 of 45

10. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. Following the
attack, I was overwhelmed by an extreme sense of loss and devastation and became
depressed, anxious, and numb. The pain of Tommy’s loss remains sharp for me and
my entire family despite the passage of time.

11. Tommy was caring, fun-loving, and great with children. He enjoyed the outdoors and
spent a lot of time camping and hiking, especially with his younger brother, Stephen.
Stephen was only twelve at the time of Tommy’s death and probably had it the most
difficult, as he was still living at home and was the closest to my parents’ profound
grief. Stephen lost more than a dear brother; he also lost his parents and his
childhood to grief.

12. My siblings, Stephen DiBenedetto, David DiBenedetto, and Laura Pinatti, as well as
the estate of my late brother, Thomas DiBenedetto, are also plaintiffs in this litigation.

I, Diane Martin, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this theJA_ day oS), 201 g

Oye Morn

Diane Martin

 

 

 
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 32 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.

Vv.

THE ISLAMIC REPUBLIC OF IRAN

AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Plaintiffs,

Civil Action No. 1:16-cv-02429-TSC

Defendants.

Nee SS

 

AFFIDAVIT OF FRANCISCA TANG

I, Francisca Tang, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

lL.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on June 4, 1960 in the United States of America and have been at all times
throughout my life a citizen of the United States of America.

I am the sister of Lorenzo Almanza.

On October 23, 1983, my brother, Lorenzo Almanza, was deployed in Beirut,
Lebanon with the United States Navy when a suicide bomber attacked the Marine
barracks.

On October 23, 1983, I was twenty-three years old. I first learned of the terrorist

attack from my sister, Martha Almanza. I was very upset and worried about my
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 33 of 45

brother, because I knew he was stationed in the area. My family and I began making
phone calls trying to get information about Lorenzo, but there was a lot of confusion
and no one could give us any answers. The waiting and the inability to obtain news
of Lorenzo were horrible.

6. The next morning a naval officer came to our house and informed my mother and the
family of Lorenzo’s condition. He was badly injured, but he was alive. I was
relieved to find out that my brother was alive, but he was seriously injured and it was
not a given that he would make it. In the days that followed, I remember receiving
telegrams informing us that Lorenzo was in poor condition and that he may not
survive and of the amputation of part of his foot. It was a very difficult period for the
family, waiting for news while Lorenzo was half the world away.

7. The experience was made worse by the media, which was constantly trying to
interview us during this hard time. It was very difficult to constantly respond to the
reporters.

8. When Lorenzo returned to the States, it was to the Naval Hospital in Camp Lejeune,
North Carolina. My mother took a bus from Texas to North Carolina to stay with and
care for him. While she was gone, I helped look after my younger siblings.

9. Lorenzo was allowed to leave the hospital in North Carolina for approximately a
week and to spend the Christmas holidays back at home with family in Texas. I
remember waiting for him at the airport. The local news media was there as well.
When they brought Lorenzo out he was in a wheelchair; he looked skeletal. It was
hard to see him like that. Nevertheless, I was happy to see my brother alive. My

siblings and I all ran to him, Everyone was crying.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 34 of 45

10. During the week Lorenzo was home, he needed a lot of help and extra care. He had
to be carried to and from the bathroom. He had to be fed. The dressing on his right
foot had to be changed daily. He was constantly bound to his wheelchair — it would
be years before he was able to walk again on his own. I love my brother very much
and it saddened me greatly to see how he struggled. |

11. I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether Lorenzo was dead or alive
following the attack. It still brings tears to my eyes after all this time to think back on
these events. It is still very hard to talk about.

12. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This terrorist
attack has permanently impacted my family and me. Lorenzo has suffered a lot and
continues to suffer to this day. Lorenzo once told me that he would give all of his
possessions just to be able to walk normally again. It has been very painful to witness
his suffering. His life has not been, and never will be, the same. No amount of
money will ever be enough to compensate Lorenzo for what he has been through.

13. My mother, Pieda Vasquez, and my siblings, Lorenzo Almanza, Laurencio Almanza,
Angel Almanza, Maria Herrera, Martha Almanza, and the estate of my late brother,
Ricardo Almanza, are also plaintiffs in this litigation.

I, Francisca Tang, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 35 of 45

Executed on this the (O" aay of KAN Way, 2018

Sumesc (L ony

Francisca Tang

Sworn to and subscribed before me

this 2. nay Ot Sehwag , 2018.

Notary Public

     
 
   
 

fo OFFICIAL STAMP
Y fe SAMANTHA ANN MCKENNEY
P] NOTARY PUBLIC-OREGON
COMMISSION NO. 951715
MY COMMISSION EXPIRES JULY 11, 2020

 

 
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 36 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et al. )
)
Plaintiffs, )
)
Vv. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY
)
)
)
)

 

AFFIDAVIT OF JAMES FORRESTER

I, James Forrester, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

I was born on March 1, 1957 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

I am the brother of Steven Forrester.

On October 23, 1983, my brother, Steven Forrester, was deployed in Beirut, Lebanon
with the United States Marine Corps when a suicide bomber attacked the Marine
barracks.

On October 23, 1983, I was twenty-six years old. I first learned of my brother’s death

from my mother. She called and told me that there had been a bombing in Beirut and
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 37 of 45

that Steven was among the bodies. I was at a complete loss. I turned the television to
the news, which explained that the explosion caused the building my brother was in
to collapse onto itself, trapping the Marines inside while they slept. It was
devastating. I felt sadness for the loss of my brother, but also for the many other
families who were suffering.

6. Ihave suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. This terrorist attack stole Steven’s future and
permanently impacted my life, as it forever severed my relationship with my brother
and left a void in our family that can never be filled.

7. Isuffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. It has been
difficult to relive these memories in composing this affidavit. I was with my mother
as she prepared her statement as well. It saddened me greatly to watch my mother’s
face as she tried to recall this terrible time. The emotion of Steven’s death is still very
sharp.

8. My mother, Mabel Rich, and my sister, Angela Forrester, as well as Steven’s wife,
Christine Forrester, and children, Steven E. M. Forrester and Detwane Lewis, as well
as the estate of my late brother, Steven Forrester, are also plaintiffs in this litigation.

I, James Forrester, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the APD day of dan Avis %, 2018

  

 

( pres Forrester 2
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 38 of 45

Sworn to and subscribed before me
this 2o day of Jan , 2018.

VENA LAURENS SAS
NOTARY PUBLIC STATE OF MARYLAND

Qene p 9 My Commission Expires July 25, 2021

Notary Public
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 39 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

OF INFORMATION AND SECURITY

Defendants.

)
DAVID DIBENEDETTO, et al. )
)
Plaintiffs, )
)
v. ) Civil Action No. 1:16-cv-02429-TSC
)
THE ISLAMIC REPUBLIC OF IRAN )
)
AND )
)
THE IRANIAN MINISTRY )
)
)
)
)

 

AFFIDAVIT OF KATHERINE NAGY

I, Katherine Nagy, declare under penalty of perjury under the laws of the United States of

America, state upon personal knowledge that:

1.

I am of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.
I was born on March 06, 1960 in the United States of America and have been at all

times throughout my life a citizen of the United States of America.

. lam the sister of Adam Webb.

On October 23, 1983, my brother, Adam Webb, was deployed in Beirut, Lebanon
with the United States Marine Corps, posted at the Marine Battalion Landing Team
headquarters (“BLT”) when a suicide bomber attacked the BLT.

On October 23, 1983, I was twenty-three years old. I first learned of the terrorist

attack that destroyed the BLT from my parents who learned of the attack from the
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 40 of 45

10.

television news. I was extremely anxious and very worried about my brother. No
one knew if Adam was dead or alive. I stayed close to the phone, crying
inconsolably, waiting to hear any bit of news and praying that Adam was alive.

A day or so after the attack, at approximately 4:00 a.m., Adam called home from a
hospital in Naples, Italy. He was injured, but he was alive.

I have suffered extreme emotional distress because of the bombing of the Marine
barracks in Beirut, Lebanon. I did not know whether Adam was dead or alive
following the attack. Additionally, Adam’s psychological injuries following the
bombing and resulting struggles with alcohol have placed significant stress on me and
our relationship.

Prior to the attack, we were a very close family. Adam got together with the rest of
the family often and participated in family activities. When Adam returned home
following the attack, he mostly kept to himself and did not say much about what had
happened. He still doesn’t talk about his experience in Beirut.

While the majority of the family is still very close, Adam does not like to come when
we all get together. He does not handle large groups well anymore. I know he still
loves us all and he does still visit in smaller group settings. However, it has become
increasingly difficult for him to be in even small groups. He still mostly keeps to
himself.

1 suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. This terrorist
attack has permanently impacted my family and my relationship with my brother,
Adam Webb. Adam continues to have issues with alcoholism, anger, guilt, and

maintaining personal relationships.
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 41 of 45

11, My brother, Adam Webb, as well as my mother, Mary McMahon, and the estate of
my late father, William Webb, Sr., Adam’s other siblings, Brenda Meager, William
Webb, Jr., and Roger Webb, Adam’s wife, Dawn Webb, and the estate of Adam’s late
son, Donald Webb, are also plaintiffs in this litigation.

I, Katherine Nagy, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.

Executed on this the day or pbrary 2018

Katherine Nagy

Sworn to and subscribed before me
this & day oftbruan _, 2018.

 
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 42 of 45

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DAVID DIBENEDETTO, et al.
Plaintiffs,
Civil Action No. 1:16-cv-02429-TSC

Vv.

THE ISLAMIC REPUBLIC OF IRAN
AND

THE IRANIAN MINISTRY
OF INFORMATION AND SECURITY

Defendants.

Ne Ne Ne Ne Ne ee Nee eee ee ee ee Ne ee” Ne” ee ee ee”

 

AFFIDAVIT OF LAURA PINATTI
I, Laura Pinatti, declare under penalty of perjury under the laws of the United States of
America, state upon personal knowledge that:

1. Iam of sound mind, over the age of eighteen (18), and make this statement based on
my own personal knowledge. I am a plaintiff in this case.

2. I was born on April 22, 1958 in the United States of America and have been at all
times throughout my life a citizen of the United States of America.

3. Iam the sister of Thomas DiBenedetto.

4. On October 23, 1983, my brother, Thomas DiBenedetto, was deployed in Beirut,
Lebanon with the United States Marine Corps when a suicide bomber attacked the
Marine barracks.

5. On October 23, 1983, I was twenty-five years old. I first learned of the terrorist

attack on the radio. I was frantic with worry and ran out of my lab at the university
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 43 of 45

where I was a graduate student and drove home to be with my mom and dad. We all
gathered together waiting to hear any news, worried sick. The waiting and the
inability to obtain news of Tommy was horrible.

6. The next morning my dad didn’t want to go into work, but had an important meeting
he couldn’t miss. When a car pulled into the driveway later that morning and two
Marines got out, my mom and I were alone. They informed us that Tommy had been
killed in the terrorist attack. It was completely devastating, the single most painful
event in my life. After the Marines left, we left the house and found a church where
we could sit for awhile. I remember it being a truly beautiful, sunny, fall day. The
absurdity of it struck me. How could there be such a feeling of unbearable sadness on
such a beautiful peaceful day?

7. The experience was made worse by the media, which was constantly trying to
interview us during this difficult and emotional time. We asked for privacy, but the
reporters were relentless. They wouldn’t go away. The phone was ringing off the
hook and the reporters were camped outside of our house for days. I resent the media
to this day for that unforgivable intrusion.

8. It took about ten days for my brother’s body to return home. You don’t really believe
someone is gone until you see it. It was a shock to see Tommy in that casket. An
honor guard issued a rifle salute at the end of the funeral. I still cringe during the 21
gun salute every Memorial Day. After the funeral, I remember hearing extended
family laughing and telling stories. I hated that there was laughter when my brother
was dead. I didn’t know how I could ever laugh again.

9. I have suffered extreme emotional distress because of the bombing of the Marine

barracks in Beirut, Lebanon. This terrorist attack stole Tommy’s future and
Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 44 of 45

permanently impacted my life, as it forever severed my relationship with my brother
and left a void in our family that can never be filled. Tommy’s death, and the manner
in which it occurred, took away my innocence and brought violence and unhappiness
into our quiet existence. Tommy, and the family he never got to have, are missing
from every family event and every family photo.

10. I suffered and continue to suffer because of the emotional pain, stress and the loss of
solatium inflicted upon me and my family as a result of this attack. Following the
attack, I was overwhelmed by sadness, confusion, and anger. My heart literally felt
like it was broken. It was extremely difficult to focus on my studies and I ended up
quitting my graduate program, though I did eventually finish my degree.

11. Years later, I named my son after Tom; he was three before my mom and dad could
call him Tom. I think how my children would have idolized Tommy. He was so fun
and was really good with my younger brother, Stephen, whom he spent a lot of time
with. He loved the outdoors, traveling, and motorcycles. Although it doesn’t run, we
still have his old motorcycle. Tommy was a scuba diver and hoped to have the
chance to visit the Great Barrier Reef of Australia. But none of Tommy’s hopes and
dreams would come true, because his future was stolen from him by this senseless
and cowardly act of terrorism.

12. My siblings, Stephen DiBenedetto, David DiBenedetto, and Diane Martin, as well as
the estate of my late brother, Thomas DiBenedetto, are also plaintiffs in this litigation.

I, Laura Pinatti, declare under penalty of perjury under the laws of the United

States of America that the forgoing is true and correct.
hig

"WA te,
ah hilisy ,
Uh,

So

‘ ¢ ‘

OVE

Case 1:16-cv-02429-TSC Document 19-2 Filed 03/06/18 Page 45 of 45

Executed on this the Aq day of January , 2018

Sousa, Wwsths

Laura Pinatti

Sworn to and subscribed before me
this 44 __ day of » bnzary , 2018,

Notdiy Public

Coty
¢

. hye (M3

f
1
